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                     EXHIBIT 1
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                     EXHIBIT 2
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                     EXHIBIT 3
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                     EXHIBIT 4
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                     EXHIBIT 5
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